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  B104 (FORM 104) (08/07)

          ADVERSARY PROCEEDING COVER SHEET                                                         ADVERSARY PROCEEDING NUMBER
                                                                                                   (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                          DEFENDANTS
Warren E. Agin, Trustee                                                             Mortgage Electronic Registration Systems, Inc.
                                                                                    and Countrywide Home Loans, Inc.
ATTORNEYS (Firm Name, Address, and Telephone No.)                                   ATTORNEYS (If Known)
Jeffrey J. Cymrot - Sassoon & Cymrot, LLP
84 State Street, Boston, MA 02109
 617-720-0099
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □
                                                                 x Other
x Trustee
□
X                                                  □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
The Trustee asserts that the mortgage lien held by the defendants contains a defective acknowledgement and is
therefore void and avoidable.



                                                                       NATURE OF SUIT
         (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□                                                                                   □
     FRBP 7001(1) – Recovery of Money/Property                                      FRBP 7001(6) – Dischargeability (continued)
     11-Recovery of money/property - §542 turnover of property                         61-Dischargeability - §523(a)(5), domestic support
□    12-Recovery of money/property - §547 preference                                □   68-Dischargeability - §523(a)(6), willful and malicious injury
□x   13-Recovery of money/property - §548 fraudulent transfer                       □   63-Dischargeability - §523(a)(8), student loan
□    14-Recovery of money/property - other                                          □   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                           (other than domestic support)

□
x
     FRBP 7001(2) – Validity, Priority or Extent of Lien
     21-Validity, priority or extent of lien or other interest in property
                                                                                    □   65-Dischargeability - other



                                                                                    □
                                                                                    FRBP 7001(7) – Injunctive Relief

□
     FRBP 7001(3) – Approval of Sale of Property                                       71-Injunctive relief – imposition of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)          □   72-Injunctive relief – other


□
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                    □
                                                                                    FRBP 7001(8) Subordination of Claim or Interest
     41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                       81-Subordination of claim or interest


□
     FRBP 7001(5) – Revocation of Confirmation
                                                                                    □
                                                                                    FRBP 7001(9) Declaratory Judgment
     51-Revocation of confirmation
                                                                                       91-Declaratory judgment


□
     FRBP 7001(6) – Dischargeability
                                                                                    □
                                                                                    FRBP 7001(10) Determination of Removed Action
     66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
□    62-Dischargeability - §523(a)(2), false pretenses, false representation,
                                                                                       01-Determination of removed claim or cause

         actual fraud
□                                                                                   □
                                                                                    Other
     67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny        SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                        (continued next column)                                     □   02-Other (e.g. other actions that would have been brought in state court
                                                                                            if unrelated to bankruptcy case)
□x Check if this case involves a substantive issue of state law                     □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                    Demand $
Other Relief Sought
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              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Matthew H. Giroux                                                     08-14708-JNF
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Massachusetts                                                          Boston                            Feeney
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

  /s/Jeffrey J. Cymrot



DATE 9-24-2008                                                          PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                                        Jeffrey J. Cymrot




                                                        INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
 Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
 Filing system (CM/ECF). (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
 the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
 process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
                              EASTERN DIVISION
__________________________________________
In Re:                                     )
MATTHEW H. GIROUX                          )   Chapter 7
            Debtor                         )   Case No. 08-14708-JNF
__________________________________________ )
WARREN E. AGIN, TRUSTEE                     )
            Plaintiff                       )
   v.                                       )  Adversary Proceeding No.
                                            )
MORTGAGE ELECTRONIC REGISTRATION )
SYSTEMS, INC., and COUNTRYWIDE HOME )
LOANS, INC.                                  )
            Defendants                      )
___________________________________________)

                                          COMPLAINT

                                              Parties

1.     Warren E. Agin is an individual with a business address of Swiggart & Agin LLC, 197

Portland Street, 4th Floor, Boston, MA 02114, who brings this adversary proceeding in his capacity

as the trustee of the chapter 7 bankruptcy estate [Estate] of Matthew H. Giroux [Trustee].

2.     Mortgage Electronic Registration Systems, Inc. [MERS], is a Delaware corporation with an

address of P.O. Box 2026, Flint, MI 48501-2026. MERS’s registered agent in Massachusetts is CT

Corporation System, 155 Federal Street, Suite 700, Boston, MA 02110.

3.     Countrywide Home Loans, Inc. [Countrywide], is a corporation doing business in

Massachusetts with a mailing address of 7105 Corporate Drive, Plano, TX 75024. Countrywide’s

registered agent in Massachusetts is CT Corporation System, 155 Federal Street, Suite 700, Boston,

MA 02110.




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                                       Jurisdiction and Venue

3.     The court has jurisdiction over this core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (E),

(K), and (O).

4.     Venue in this court is proper pursuant to 28 U.S.C. 1409.



                                          Allegations of Fact

5.     By deed [Deed] dated December 19, 2005, and recorded in the Bristol County (Northern

District) Registry of Deeds at Book 13818 , Page 62, Matthew H. Giroux, the debtor herein,

acquired the fee interest in real property located at 949 Somerset Avenue, North Dighton, MA

02764 [Property]. Exhibit 1 contains a copy of the Deed.

6.     The Property constitutes property of the Estate.

7.     MERS asserts that on December 19, 2005, the debtor alienated an interest in the Property by

executing a certain mortgage [Mortgage]. Exhibit 2 contains a copy of the Mortgage.

8.     MERS, the debtor’s lender, or a successor of the debtor’s lender had the Mortgage recorded in

the Bristol County [Northern District] Registry of Deeds at book 15484, page 18.

9.     Countrywide asserts a first mortgage interest in the Property as MERS’s assignee.

10.    Countrywide asserts that its first mortgage interest in the Property has a balance of about

$282,728.40.

11.    The debtor commenced his chapter 7 bankruptcy case on June 27, 2008 [Date of

Commencement].

12.    The Property has a value of $294,000.




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                                           Count I
                      Determination of Secured Status – 11 U.S.C. §506(d)

13.   No deed may be recorded without a certificate of its acknowledgement or proof of its due

execution. M.G.L. ch. 183, §29.

14.   The certificate affixed to the Mortgage contains a material omission and defect that does not

constitute a scrivener’s error. M.G.L. ch. 183, §30.

15.   Prior to the Date of Commencement, neither MERS nor any party claiming under MERS

cured the certificate’s material omission and defect pursuant to the provisions of the Uniform

Acknowledgement Act set forth in Massachusetts as M.G.L. 183, §29, et seq., or any other

applicable provision of law.

16.   Because MERS did not comply with the provisions of the Uniform Acknowledgement Act as

adopted in Massachusetts, the Mortgage is void as to the Trustee and the debtor’s chapter 7 estate.

17.   Pursuant to 11 U.S.C. §506(d) and Fed.R.Bankr.P. 7001(2), the Trustee asks the court to

determine the validity, priority, and extent of the Mortgage as a lien on the Property.

                                            Count II
                           Avoidance of the Mortgage -- 11 U.S.C. §544

18.   In pertinent part 11 U.S.C. §544(a) states

      (a) The trustee shall have, as of the commencement of the case, and without regard to any
          knowledge of the trustee or of any creditor, the rights and powers of, or may avoid any
          transfer of property of the debtor or any obligation incurred by the debtor that is voidable
          by—
                                                     *
                                                     *
                                                     *
          (2) a creditor that extends credit to the debtor at the time of the commencement of the
          case, and obtains at such time and with respect to such credit, an execution against the
          debtor that is returned unsatisfied at such time, whether or not such a creditor exists.

19.   Alternatively, the Trustee asks the court for an order avoiding the Mortgage as a transfer of

property subject to his hypothetical lien arising from §544(a).



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                                             Count III
                       Liability for Avoided Transfer -- 11 U.S.C. §550(a)(1)

20.    Pursuant to 11 U.S.C. § 550(a)(1), the Trustee asks the court to enter judgment against MERS

as initial transferee, allowing the Trustee to recover, for the benefit of the estate, the Property

transferred or the value of the Property transferred by the Mortgage.

                                             Count IV
                       Liability for Avoided Transfer -- 11 U.S.C. §550(a)(2)

21.    Pursuant to 11 U.S.C. § 550(a)(2), the Trustee asks the court to enter judgment against

Countrywide as the immediate transferee of the initial transferee, allowing the Trustee to recover,

for the benefit of the estate, the Property transferred or the value of the Property transferred by the

Mortgage.

       WHEREFORE, the Trustee asks the court to grant the relief set forth herein and for such other

relief as the court deems just.

                                         Respectfully submitted,
                                         Warren E. Agin, Trustee
                                         By his counsel,


Dated: September 24, 2008                /s/ Jeffrey J. Cymrot___________
                                         Jeffrey J. Cymrot (BBO# 555925)
                                         Anthony A. A. McGuinness (BBO#661478)
                                         Sassoon & Cymrot LLP
                                         84 State Street
                                         Boston, MA 02109
                                         Tel: (617) 720-0099
Complaint (09-17-08)




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